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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

Kristina Oliver, individually and on         )
behalf of all others similarly situated      )       Case No. 1:16-cv-05177
                                             )
              Plaintiff,                     )       DEFENDANTS TTC-AMERIDIAL, LLC
                                             )       AND AMERDIAL, INC.’S MOTION
vs.                                          )       FOR SUMMARY JUDGMENT
                                             )
TTC-AMERIDIAL, LLC, and                      )
AMERIDIAL, INC.                              )
                                             )
              Defendants.                    )


        In accordance with Fed. R. Civ. P 56, Defendants TTC-Ameridial, LLC, and Ameridial,

Inc. (collectively “Defendants”) request this Court grant their motion for summary judgment and

dismiss Plaintiff Kristina Oliver’s complaint with prejudice. The reasons for the motion are

provided in Defendants’ memorandum in support.

        Defendants therefore request this Court grant their motion for summary judgment and

dismiss Oliver’s complaint with prejudice.




Dated: August 28, 2017             Respectfully submitted,

                                     /s/ Jeffrey S. Bunn

                                   LATIMER LEVAY FYOCK, LLP
                                   Jeffrey S. Bunn, IL #3126903
                                   55 W. Monroe St., 11th Floor
                                   Chicago, Illinois 60603
                                   Telephone: (312) 422-8000
                                   Facsimile: (312) 422-8001
                                   Email: jbunn@llflegal.com

                                   -and-




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                          COPILEVITZ & CANTER, LLC
                          William E. Raney, MO #46954 (Pro hac)
                          Kellie Mitchell Bubeck, MO #65573 (Pro hac vice)
                          310 W. 20th Street, Suite 300
                          Kansas City, Missouri 64108
                          Telephone: (816) 472-9000
                          Facsimile: (816) 472-5000
                          Email: braney@cckc-law.com
                                 kmitchell@cckc-law.com


                          Attorneys for Defendants




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                                CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of the foregoing on the following parties via the

Court’s CM/ECF electronic filing system on this 28th day of August, 2017:


WOODROW & PELUSO, LLC
Steven L. Woodrow
3900 E. Mexico Ave., Suite 300
Denver, CO 80210
Telephone: (720) 213-0675
Email: swoodrow@woodrowpeluso.com

LAW OFFICES OF STEFAN COLEMAN, P.A.
Stefan Coleman
201 S. Biscayne Blvd., 28th Floor
Miami, FL 33131
Telephone: (877) 333-9427
Email: law@stefancoleman.com

MCCALLISTER LAW GROUP, LLC
Marc McCallister
120 North LaSalle St., Suite 2800
Chicago, IL 60602
Telephone: (312) 345-0611
Email: eme@mccallisterlawgroup.com


                                                      /s/ William E. Raney
                                                     William E. Raney




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